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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SAMUEL O. ARAOYE,                                       CIVIL ACTION
               Plaintiff,

               v.

 CITY OF PHILADELPHIA,                                   NO. 19-719
                Defendant.

                                        ORDER

       AND NOW, this 31st day of October, 2022, upon consideration of Plaintiff’s Motion for

Summary Judgment (ECF No. 147 and 148) and Defendant’s Motion for Summary Judgment

(ECF No. 149) and Plaintiff’s Response thereto (ECF No. 160), IT IS HEREBY ORDERED

that Defendant’s Motion is GRANTED. The Clerk of Court is ordered to terminate the case.

                                                 BY THE COURT:



                                                 /s/Wendy Beetlestone, J.
                                                 _______________________________
                                                 WENDY BEETLESTONE, J.
